Case 1:03-cr-10038-.]DT Document 60 Filed 07/05/05 Page 1 of 2 Page|D 47

 

UNITED STATES DISTRICT CoURT .Q% ’ §/

FOR THE

WESTERN DISTRICT OF TENNESSEE

 

ORDER OF PRODUCTION d
NO, 1=03-10033-01-T L//:/
USA v, Aubrey Clark
AD Prosequendum
FOR: Re-Sentencing Hearing
'I`O: USM, Western District of TN

Warden, FCI Memphis

YOU ARE HEREBY COMMANDED to have the person of

Aubrey Clark lomate# 19084-076

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by you restrained of his/her liberty, as it is said, by whatsoever names detained, together With the
day and cause of his being taken and detained, before the I-Ionorable J ames D. Todd, U. S.
District Court Judge, for the Westem District of Tennessee, at the room of said Court, in the City

of Jackson, Tennessee, at 8:45 a.m. on the Ath day of August , 20 05

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then and there to do, submit to, and receive Whatsoever the said Judge shall then and there
determine in that behalf; and have you then and there this writ; further, to hold him in federal

custody until disposition of this case and to produce him for such other appearances as this court

may direct. iff

ENTERED THIS DAY OF

 

 

UNITE STATES DISTRICT JUDGE

Thls document entered en the docket sheet ln eompt|ance

W"h Ffule 55 and/or sam Fnch on aj - 05 -Q§

 

DISTRIC COUR - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case l:03-CR-10038 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

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Honorable .l ames Todd
US DISTRICT COURT

